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                                                                                                E-FILED
                                                                 Friday, 09 October, 2020 02:58:47 PM
                                                                          Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT
                            SPRINGFIELD, ILLINOIS

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
v.                                        )      Case No. 18-CR-30029
                                          )
AHMED AL-KOSHI,                           )
                                          )
             Defendant.                   )

JOINT BRIEF ADDRESSING VIDEO TELECONFERENCE SENTENCING HEARING

      Now comes the defendant, Ahmed Al-Koshi, and responds to the Court’s text order

regarding a videoconference sentencing hearing as follows:

      1.     On October 5, 2020 this court entered a text order directing the parties to file

briefs stating whether they consent to having the defendant Ahmed Al-Koshi’s sentencing

hearing conducted via video teleconference.

      2.     Counsel for Ahmed Al-Koshi has conferred with Assistant United States

Attorney Timothy Bass regarding this issue.

      3.     The parties are filing a joint brief because they agree that Ahmed Al-Koshi’s

sentencing hearing can effectively be conducted via videoconference.

      4.     Ahmed Al-Koshi’s sentencing hearing is scheduled for October 20, 2020 at

1:30 p.m.
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      5.     Mr. Al-Koshi is arabic speaking and requires a translator. Counsel believes a

sentencing hearing can be conducted videoconference as long as a translator is available.

      Wherefore, the parties agree that Mr. Al-Koshi’s sentencing hearing can be conducted

by videoconference.

                                         Respectfully submitted,
                                         Ahmed Al-Koshi - Defendant

                                         s/ D. Peter Wise

D. Peter Wise, Bar Number: 6187876
Gates, Wise, Schlosser & Goebel
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                                                                       Case No: 18-CR-30029




                              CERTIFICATE OF SERVICE
        I hereby certify that on October 9, 2020, I electronically filed the foregoing with the
Clerk of the court using the CM/ECF system which will send notification of such filing to
the following:


Timothy Bass
Assistant United State’s Attorney
318 South Sixth Street
Springfield, IL 62701-1806
217-492-4450
217-492-4512 (fax)


and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants:




s/ D. Peter Wise
D. Peter Wise, Bar Number: 6187876
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